            Case 2:21-cv-03717-JHS Document 1 Filed 08/20/21 Page 1 of 8




                                  UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF PENNSYLVANIA
----------------------------------------------------------x
 Rafal Leszczynski,

                            Plaintiff,                        C.A. No.:




          -against-                                           DEMAND FOR JURY TRIAL

 National Credit Systems, Inc.,

                            Defendant(s).
----------------------------------------------------------x


                                                COMPLAINT
        Plaintiff Rafal Leszczynski ("Plaintiff"), by and through his attorneys, and as for his

Complaint against Defendant National Credit Systems, Inc., (“National”) respectfully sets forth,

complains, and alleges, upon information and belief, the following:

                                      JURISDICTION AND VENUE

    1.The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1367, as well as 15

        U.S.C. § 1681p et seq.

    2.Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2), due to the fact

        that this is the judicial district in which a substantial part of the events or omissions

        giving rise to the claim occurred.

    3.Plaintiff brings this action for damages arising from the Defendant's violations of 15 U.S.C.

        § 1681 et seq., commonly known as the Fair Credit Reporting Act (“FCRA”).

    4.Plaintiff also brings this action for damages for Defendant’s violations of 15 U.S.C. § 1692

        et seq., commonly known as the Fair Debt Collections Practices Act (“FDCPA”).




                                                         1
      Case 2:21-cv-03717-JHS Document 1 Filed 08/20/21 Page 2 of 8




                                        PARTIES

5.Plaintiff is a resident of the Commonwealth of Pennsylvania, County of Philadelphia.

6.At all times material hereto, Plaintiff was a “consumer” as said term is defined under 15

   U.S.C. § 1681a(c).

7.Defendant National Credit Systems, Inc., is a person who furnishes information to

   consumer reporting agencies under 15 U.S.C. § 1681s-2, and may be served with process

   its Pennsylvania registered agent, CT Corporation, 600 N 2nd Street, Ste 401, Harrisburg,

   PA, 17101.

8.Defendant National is a “debt collector” as the phrase is defined in 15 U.S.C. § 1692(a)(6)

   and used in the FDCPA.

9.Defendant National was acting as a debt collector with respect to the collection of the

   Plaintiff’s alleged debt, specifically here a personal apartment debt.

                              FACTUAL ALLEGATIONS

10.Plaintiff incorporates by reference all of the above paragraphs of this Complaint as though

   fully stated herein with the same force and effect as if the same were set forth at length

   herein.

                             National Dispute and Violation

11.On information and belief, on a date better known to Trans Union, LLC (“Transunion”), a

   consumer credit reporting agency, Transunion prepared and issued credit reports

   concerning the Plaintiff that included inaccurate information relating to a National

   collection account.

12.The inaccurate information furnished by Defendant National and published by Transunion

   was inaccurate and misleading because this account was not a valid collection account.




                                             2
      Case 2:21-cv-03717-JHS Document 1 Filed 08/20/21 Page 3 of 8




13.The original creditor, Thirty-One Brewerytown Flats, had attempted to file a lawsuit and

   collection a judgment against the Plaintiff.

14.The Court dismissed the lawsuit and held that this debt was not valid.

15.Despite this decree from the Court, National continued to collect this debt on behalf of

   Thirty-One Brewerytown Flats.

16.Transunion has been reporting this inaccurate information through the issuance of false

   and inaccurate credit information and consumer reports that they have disseminated to

   various person and credit grantors, both known and unknown.

17.Plaintiff notified Transunion that he disputed the accuracy of the information being

   reporting on or around March 19, 2021, specifically stating in a letter sent to Transunion

   that he was disputing the reporting of this National collection account because the

   original creditor, Thirty-One Brewerytown Flats, cannot legally collect money from the

   Plaintiff, as well as the fact he is disputed the amount owed.

18.It is believed and therefore averred that Transunion notified Defendant National of

   Plaintiff’s dispute.

19.Upon receipt of the dispute of the account from Transunion, National failed to timely

   conduct a reasonable investigation and continued to report false and inaccurate adverse

   information on the consumer report of the Plaintiff with respect to the disputed account.

20.Notwithstanding Plaintiff’s efforts, Defendant continued to publish and disseminate such

   inaccurate information to other third parties, persons, entities and credit grantors, as

   evidenced by the inquiries on the Plaintiff’s credit report in the form of hard and soft

   pulls.




                                             3
       Case 2:21-cv-03717-JHS Document 1 Filed 08/20/21 Page 4 of 8




21.As a result of Defendant’s failure to comply with the FCRA, the Plaintiff suffered

   concrete harm in the form of loss of credit, loss of ability to purchase and benefit from

   credit, a chilling effect on applications for future credit, and the mental and emotional

   pain, anguish, humiliation and embarrassment of credit denial.

                              FIRST CAUSE OF ACTION
                   (Willful Violation of the FCRA as to National)

22.Plaintiff incorporates by reference the above paragraphs of this Complaint as though fully

   stated herein with the same force and effect as if the same were set forth at length herein.

23.This is an action for willful violation of the Fair Credit Reporting Act U.S.C. § 1681 et seq.

24.Pursuant to the FCRA, all persons who furnished information to reporting agencies must

   participate in re-investigations conducted by the agencies when consumers dispute the

   accuracy and completeness of information contained in a consumer credit report.

25.Pursuant to the FCRA, a furnisher of disputed information is notified by the reporting

   agency when the agency receives a notice of dispute from a consumer such as the Plaintiff.

   The furnisher must then conduct a timely investigation of the disputed information and

   review all relevant information provided by the agency.

26.The results of the investigation must be reported to the agency and, if the investigation

   reveals that the original information is incomplete or inaccurate, the information from a

   furnisher such as the Defendant must be reported to other agencies which were supplied

   such information.

27.National violated 15 U.S.C. § 1681 by publishing of inaccurate information; by failing to

   fully and properly investigate the dispute of the Plaintiff with respect to inaccurate

   information; by failing to review all relevant information regarding same by failing to

   correctly report results of an accurate investigation to the credit reporting agencies.


                                             4
          Case 2:21-cv-03717-JHS Document 1 Filed 08/20/21 Page 5 of 8




   28.Specifically, National continued to report this account on the Plaintiff’s credit report after

       being notified that the Court had ruled this debt was no longer proper to collect.

   29.As a result of the conduct, action and inaction of the Defendant National, the Plaintiff

       suffered damage for the loss of credit, loss of the ability to purchase and benefit from credit,

       a chilling and detrimental effect on future applications for credit, and the mental and

       emotional pain, anguish, humiliation and embarrassment of credit denials.

   30.The conduct, action and inaction of National was willful, rendering National liable for

       actual, statutory and punitive damages in an amount to be determined by a jury pursuant to

       15 U.S.C. § 1681n.

   31.Plaintiff is entitled to recover reasonable costs and attorney’s fees from Defendant National

       in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.

       WHEREFORE, Plaintiff, Rafal Leszczynski, an individual demands judgement in his

favor against Defendant National for damages together with attorney’s fees and Court costs

pursuant to 15 U.S.C. § 1681n.

                                 SECOND CAUSE OF ACTION

                       (Negligent Violation of the FCRA as to National)

   32.Plaintiff incorporates by reference the above paragraphs of this Complaint as though fully

       stated herein with the same force and effect as if the same were set forth at length herein.

   33.This is an action for negligent violation of the Fair Credit Reporting Act U.S.C. § 1681 et

       seq.

   34.Pursuant to the FCRA, all persons who furnished information to reporting agencies must

       participate in re-investigations conducted by the agencies when consumers dispute the

       accuracy and completeness of information in a consumer credit report.




                                                  5
       Case 2:21-cv-03717-JHS Document 1 Filed 08/20/21 Page 6 of 8




35.Pursuant to the FCRA, a furnisher of disputed information is notified by the reporting

   agency when the agency receives a notice of dispute from a consumer such as the Plaintiff.

   The furnisher must then conduct a timely investigation of the disputed information and

   review all relevant information provided by the agency.

36.The results of the investigation must be reported to the agency and, if the investigation

   reveals that the original information is incomplete or inaccurate, the information from a

   furnisher such as Defendant National must be reported to other agencies which were

   supplied such information.

37.National is liable to the Plaintiff for failing to comply with the requirements imposed on

   furnishers of information pursuant to 15 U.S.C. § 1681.

38.After receiving the dispute notice from Transunion, Defendant National negligently failed

   to conduct its reinvestigation in good faith.

39.A reasonable investigation would require a furnisher such as National to consider and

   evaluate a specific dispute by the consumer, along with all other facts, evidence and

   materials provided by the agency to the furnisher.

40.Had National performed a reasonable investigation it would have found that collection of

   this account was improper.

41.The conduct, action and inaction of Defendant National was negligent, entitling the Plaintiff

   to recover actual damages under 15 U.S.C. § 1681o.

42.As a result of the conduct, action and inaction of National, the Plaintiff suffered damage for

   the loss of credit, loss of the ability to purchase and benefit from credit, a chilling and

   detrimental effect on future applications for credit, and the mental and emotional pain,

   anguish, humiliation and embarrassment of credit denials.




                                             6
          Case 2:21-cv-03717-JHS Document 1 Filed 08/20/21 Page 7 of 8




   43.Plaintiff is entitled to recover reasonable costs and attorney’s fees from the Defendant

       National in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and

       1681o.

       WHEREFORE, Plaintiff, Rafal Leszczynski, an individual, demands judgement in his

favor against Defendant National for damages together with attorney’s fees and court costs

pursuant to 15 U.S.C. § 1681o.

                                   THIRD CAUSE OF ACTION
                              (Violation of the FDCPA as to National)
   44.Plaintiff incorporates by reference the above paragraphs of this Complaint as though fully

       stated herein with the same force and effect as if the same were set forth at length herein.

   45.Defendant National continued credit reporting and collection of this account after

       receiving notice of the Plaintiff’s dispute is a violation of numerous provisions of the

       FDCPA, including but not limited to 15 U.S.C. §§ 1692d, 1692e (2), 1695e (5), 1692e(8),

       1692(10), 1692f.

   46.As a result of Defendant’s violation of the FDCPA, Plaintiff has been damaged and is

       entitled to damages in accordance with the FDCPA.

                              DEMAND FOR TRIAL BY JURY

   47.Plaintiff demands and hereby respectfully requests a trial by jury for all claims and issues

       this Complaint to which Plaintiff is or may be entitled to a jury trial.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment from each Defendant as follows:

       a) For actual damages provided and pursuant to 15 U.S.C. § 1681o(a) be awarded for

          each negligent violation as alleged herein;

       b) For actual damages provided and pursuant to 15 U.S.C. § 1640(a)(1);



                                                 7
         Case 2:21-cv-03717-JHS Document 1 Filed 08/20/21 Page 8 of 8




      c) For Statutory damages provided and pursuant to 15 U.S.C. § 1681n(a);

      d) For Statutory damages provided and pursuant to 15 U.S.C. § 1640(a)(2);

      e) For Punitive damages provided and pursuant to 15 U.S.C. § 1681n(a)(2);

      f) For attorney fees and costs provided and pursuant to 15 U.S.C. § 1681n(a)(3), 15

          U.S.C. § 1681o(a)(2) and 15 U.S.C. § 1640(a)(3);

      g) For any such other and further relief, as well as further costs, expenses and

          disbursements of this action as this Court may deem just and proper.

Dated: August 20, 2021

                                    /s/ Antranig Garibian___
                                    Antranig Garibian, Esquire
                                    PA Bar No. 94538
                                    1800 John F. Kennedy Blvd,
                                    Suite 300
                                    Philadelphia, PA 19103
                                    Phone: (215) 326-9179
                                    ag@garibianlaw.com
                                    Attorneys for Plaintiff




                                               8
